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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as roguived by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
Adam Thor and Travis Foster Frontier Airlines, Inc., a Colorado Corporation

JS 44 (Rev. 04/21) FLSD Revised 12/02/2022

(b) County of Residence of First Listed Plaintiff Miami-Dae County
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant Denver County
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (/f Known)

NOTE:
(c) Attorneys (Firm Name, Address, and Telephone Number)

Adam ‘Thor & ‘l'ravis Foster, 1300 Washington Avenue, #0264, Miami. Wadsworth, Margrey & Dixon, LLP, 261 NE Ist Street, Sth Floor, \

(d) Check County Where Action Arose:
Il. BASIS OF JURISDICTION

Monroe 1 BROWARD CI PALM BEACH CI MARTIN EIST. LUCIE EI INDIAN RIVER [J OKEECHOBEE

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff)

(For Diversity Cases Only) and One Box for Defendant)

O Miami DADE 0 WIGHLANDS

(Place an “X" in One Box Only)

{J 1 U.S. Government (3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) {J Citizen of This State = | {1 | Incorporated ov Principal Place O44 04
of Business In This State
(J 2. US. Government O4 Diversity {J Citizen of Another State O 2 {J 2. Incorporated and Principal Place OS ms
Defendant (Indicate Citizenship of Parties in Item U1) of Business In Another State
Citizen or Subject of a - = soni ati -
Foreign Country O 3 (J 3. Foreign Nation O6 O86
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
(110 Insurance PERSONAL INJURY PERSONAL INJURY — (J) 625 Drug Related Seizure (1 422 Appeal 28 USC 158 () 375 False Claims Act
(J 120 Marine f 310 Airplane (J 365 Personal Injury - of Property 21 USC 881 C] 423 Withdrawal (J 376 Qui Tam (31 USC 3729(a))
LJ 130 Miller Act (_] 315 Airplane Product Product Liability LJ 690 Other 28 USC 157 400 State Reapportionment
C) 140 Negotiable Instrument Liability C) 367 Health Care/ O 410 Antitrust
CJ) 150 Recovery of Overpayment — CJ 320 Assault, Libel & Pharmaceutical INT EE a ROE PY (430 Banks and Banking
& Enforcement of Judgment Slander Personal Injury (1 820 Copyrights [1 450 Commerce
LJ 151 Medicare Act LJ 330 Federal Employers’ Product Liability L] 830 Patent CL) 460 Deportation
g 152. Recovery of Defaulted Liabilit oO 835 Patent — Abbreviated oO 470 Racketeer Influenced
Student Loans “ y 368 Asbestos Personal New Drug Application ~ and Corrupt Organizations
CJ Injury Product Liability (0 840 Trademark trac aspera
(Excl. Veterans) C] 340 Marine c 880 Defend Trade Secrets Oo +e IS Use 1B or 1692)
Act of 2016 _ .
{] 153 Recovery of Overpayment {] 345 Marine Product LABOR SOCIAL SECURITY Oo ee
of Veteran’s Benefits Liability PERSONAL PROPERTY (J 710 Fair Labor Standards Acts CJ 861 HIA (1395ff) (J 490 Cable/Sat TV
CJ 160 Stockholders’ Suits {| 350 Motor Vehicle (| 370 Other Fraud C] 720 Labor/Mgmt. Relations LC] 862 Black Lung (923) (J 850 Securities/Commodities/
CJ 190 Other Contract (J 355 Motor Vehicle C) 371 Truth in Lending C) 740 Railway Labor Act OC) 863 DIWC/DIWW (405(g)) Exchange
[7] 195 Contract Product Liability Product Liability {J 380 Other Personal {] 751 Family and Medical C] 864 SSID Title XVI [J 890 Other Statutory Actions
LJ 196 Franchise {] 360 Other Personal Property Damage Leave Act L] 865 RSI (405(g)) CL] 891 Agricultural Acts
Injury {1 385 Property Damage {1 790 Other Labor Litigation (893 Environmental Matters
CJ 362 Personal Injury - Product Liability CL] 791 Employee Retirement L} 895 Freedom of Information Act
Med. Malpractice Income Sccurity Act [) 896 Arbitration
REAL PROPERTY CIVEL RIGHTS PRISONER PETITIONS FEDERAL TAX SUITS [] 899 Administrative Procedure
LJ 210 Land Condemnation CJ 440 Other Civil Rights Habeas Corpus: C] Derenten (US: Plaintiii’ or oe oF
L} 220 Foreclosure CI 441 Voting LJ 463 Alien Detainee AL Aes Third Party 26 USC (4 aoe Constinitionallty of
4 aise & Tdectme aor , 7 S10 Motions to Vacate
[] 230 Rent Lease & Ejectment 0 442 Employment O Saree
C) 240 Torts to Land oa Housing/ (J 530 General

Accommodations

L} 245 Tort Product Liability LJ 445 Amer. w/Disabilities - LJ 535 Death Penalty IMMIGRATION

C] 290 All Other Real Property Employment Other: (1 462 Naturalization Application
CJ 446 Amer. w/Disabilities- (J) 540 Mandamus & Other (} 465 Other Immigration
Other [J 550 Civil Rights Actions
LJ 448 Education LJ 555 Prison Condition

560 Civil Detainee
C1) Conditions of

. Continement
V. ORIGIN (Place an “X" in One Box Only) -
igina “move: 4 3 Re-filed 4 Reinstated 5 Transferred from Cl 6 Multidistrict a
a! Eee ne ia ? —, a cv a on are O another district Litigation o7 Appeal ‘0 o8 Multidistrict oo Remanded from
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court
from Magistrate Fil Direct
“We

Judgment
b) Related Cases CIYES i NO
DOCKET NUMBER:

VI. RELATED/ OYES CJNO

RE-FILED CASE(S)

(See instructions): a) Re-filed Case
JUDGE:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION See 28 U.S.C. 5.1441 (a) Parties are diverse and claim exceeds amount in controversy for diversity jurisdiction.
LENGTH OF TRIAL via days estimated (for both sides to try entire case)

VU. REQUESTED IN
COMPLAINT:

O CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

DEMAND $excess of $75,000 CHECK YES only if demanded in complaint:

JURY DEMAND:

l= Yes

(No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
SIGNATURE OF ATTORNEY OF RECORD

DATE

FOR OFFICE USE ONLY : RECEIPT #

AMOUNT IFP

JUDGE

MAG JUDGE
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JS 44 (Rev. 04/21) FLSD Revised 12/02/2022
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the counly in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

ll. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box | or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Il. — Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an “X” in one of the seven boxes,
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI. —_Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the

corresponding judges name for such cases,

Vil. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
Brief Description: Unauthorized reception of cable service

VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet,

